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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH, INC.,                         )
                                              )
               Plaintiff,                     )
                                              )
               v.                             )        Civil Action No. 16-0475 (TSC)
                                              )
UNITED STATES DEPARTMENT                      )
 OF JUSTICE,                                  )
                                              )
               Defendant.                     )
                                              )

         JOINT MOTION FOR AN ORDER PRESERVING CERTAIN EXEMPTIONS
                            AND STATUS REPORT

       The parties, by counsel, submit this joint motion and status report in response to the

Court’s October 3, 2016 Minute Order. Since filing the last status report, the parties have

engaged in discussions to narrow and streamline the search and production process. Recently, the

parties have agreed upon a schedule and a joint request from the Court an Order permitting the

parties to move for summary judgment based on the applicability of 5 U.S.C. § 552(b)(7)(A) to

certain records covered by that exemption without waiving any allegation or claim that those

records are exempt from release for other reasons. 1

        The parties therefore propose that they file an additional status report by March 6, 2017

and respectfully request that the Court, pursuant to Fed. R. Civ. P. 42 and its inherent power of

enter an order preserving Defendant’s right to invoke and justify additional FOIA exemptions if




1
  Assuming the Court grants the parties’ Joint Motion, Defendant intends to make the next
production by December 5, 2016 and continue production on a monthly basis until complete. The
parties will be able to then provide the Court with a briefing schedule, briefing applicability of
the (b)(7)(A) exemption.
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the factual basis for the assertion of Exemption 7(A) ceases to exist or in the event that the Court

determines that Exemption 7(A) does not apply.



                       MEMORAMDUM AND POINTS OF AUTHORITY

         In a FOIA action, “the agency bears the burden of justifying its decision to withhold

requested information.” King v. U.S. Dep’t of Justice, 830 F.2d 210, 217 (D.C. Cir. 1987). “The

agency may meet this burden by filing affidavits describing the material withheld and the manner

in which it falls within the exemption claimed.” Id. Exemption 7(A) permits an agency to

withhold “records or information compiled for law enforcement purposes,” provided that their

disclosure “could reasonably be expected to interfere with enforcement proceedings.” 5 U.S.C. §

552(b)(7)(A); see also Sussman v. U.S. Marshals Service, 494 F.3d 1106, 1114-15 (D.C. Cir.

2007).

         In the present case, the FBI plans to rely on Exemption 7(A) as grounds to withhold

certain documents from release. See David Hardy Declaration (Hardy Decl.) ¶¶ 20-23, attached.

At the summary judgment stage, the Court will evaluate the agency’s withholdings under

Exemption 7(A). Nonetheless, the parties seek to preserve the ability to argue whether the

records are exempt from release − in whole or in part − under other FOIA exemptions, in the

event that the factual basis for the assertion of Exemption 7(A) lapses or the Court rejects the

FBI’s legal position. Accordingly, and out of an abundance of caution, the parties seek an order

preserving its right to assert additional FOIA exemptions. Such an order is entirely consistent

with the law of this Circuit, and would lead to a timely and fair resolution of the issues raised in

this action.




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       In Maydak v. U.S. Department of Justice, the defendant agency relied on Exemption 7(A)

to withhold certain records pertaining to then-pending criminal proceedings. 218 F.3d 760, 762

(D.C. Cir. 2000). After the District Court granted the agency’s motion for summary judgment

and while the case was on appeal, the criminal proceedings concluded, thereby mooting the

applicability of Exemption 7(A) to the requested records. Id. at 764. The agency sought remand

to the district court to allow it to assert additional FOIA exemptions. Denying the motion and

ordering the release of all responsive records, the Court stated: “We have plainly and repeatedly

told the government that, as a general rule, it must assert all exemptions at the same time, in the

original district court proceedings.” Id. Courts have explained that Maydak’s “general rule”

does not preclude an agency from raising additional FOIA exemptions while a case remains

pending in district court. See, e.g., Sussman, 494 F.3d at 1118 (explaining that a court may

consider an exemption first raised in a “subsequent motion for reconsideration” because “[w]e

have in the past permitted agencies to escape summary judgment in FOIA cases based on

evidence first submitted on motions for reconsideration”); Lazaridis v. U.S. Dep’t of Justice, 713

F. Supp. 2d 64, 70 n.7 (D.D.C. 2010) (rejecting the plaintiff’s Maydak waiver argument when

resolution of a motion to dismiss “d[id] not end the case”); Sciba v. Bd. of Governor of Fed.

Reserve Sys., No. 04 Civ. 1011 (RBW), 2005 WL 758260, at *1 (D.D.C. Apr. 1, 2005) (“[A] fair

reading of [Maydak] leads to the conclusion that the exemption only need be raised at a point in

the district court proceedings that gives the court an adequate opportunity to consider it.”); cf.

Cuban v. SEC, 795 F. Supp. 2d 43, 61-63 (D.D.C. 2011) (concluding that information was

properly withheld pursuant to Exemption 3 even though the agency did not invoke Exemption 3

until its motion for reconsideration).




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       Although Maydak would not necessarily foreclose the assertion of additional FOIA

exemptions at a later stage in this district court litigation, out of an abundance of caution the

parties agree to seek an order preserving the right to invoke and justify exemptions other than

7(A). See U.S. Department of Justice, Office of Information and Privacy, Freedom of

Information Act Guide, 1043 (Mar. 2007) (“[The] prudent course of action [is] to obtain the

court’s permission to raise the threshold defense first in order to specifically reserve the right to

invoke the remaining exemptions at a later date, if necessary.”). The parties’ motion reflects a

procedure commonly employed by district courts in this Circuit as a means to promote judicial

economy and the speedy and just resolution of FOIA matters. See, e.g., Pub. Investors

Arbitration Bar Ass’s v. SEC, Civil Action No. 11-2285 (BAH), Minute Order (D.D.C. July 16,

2012) (granting defendant’s request to move for summary judgment on Exemption 8 without

waiving any allegation that records are exempt from release under other FOIA exemptions);

Ciralsky v. CIA, Civil Action No. 00-1709 (RWR), Minute Order (D.D.C. Aug. 8, 2005)

(granting defendant’s request to move for summary judgment on Exemption (b)(1) without

waiving any allegation that records are exempt from release under other FOIA exemptions).

Indeed, the D.C. Circuit authorized a similar procedure in United We Stand America, Inc. v. IRS,

359 F.3d 595, 598, 605 (D.C. Cir. 2004), in which the Court remanded a FOIA case to the

district court to allow a defendant agency to assert certain exemptions that it had not previously

asserted. The Court concluded that the agency had reserved its right to assert these additional

exemptions through its district court filings, in which it stated, “[s]hould the Court determine that

the documents in question constitute agency records for purposes of the FOIA . . . the defendant

reserves the right, pursuant to the statute, to assert any applicable exemption claim(s), prior to

disclosure, and to litigate further any such exemption claims.” Id. Here, rather than assuming



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that additional exemptions would be preserved, as did the agency in United We Stand, the parties

seek an order authorizing its planned processing procedure.

       The proposed relief would benefit both the parties, as well as the Court, by promoting

judicial economy, preserving agency resources, and ensuring the speedy and efficient resolution

of this matter. Indeed, it would not be an efficient use of either the parties’ or the Court’s

resources to require motions the non-7(A) exemptions until the protection afforded by

Exemption 7(A) has lapsed or is rejected. Moreover, if the Court denies this joint motion, the

time it will take for the FBI to process and produce to plaintiffs any responsive, non-exempt

documents will drastically increase. As explained in the accompanying Hardy Declaration,

“[t]he process of reviewing the Exemption 7(A) material for additional underlying exemptions

transforms the review process from a categorical document-by-document review, to a much

lengthier page-by-page review to identify additional, underlying exemptions for assertion despite

the blanket coverage of Exemption 7(A).” Hardy Decl. ¶ 23. If this motion is denied, the FBI

would have to justify additional – and likely superfluous – exemptions by (1) reviewing each

page of every document to determine exactly what documents, or portions thereof, are

responsive to plaintiffs’ FOIA request; (2) determining, for responsive information, whether that

information is protected by an exemption in addition to Exemption 7(A); and (3) preparing a

Vaughn index2 comprehensively detailing all possible exemptions for each document. The FBI

estimates that these additional steps would double the time that it needs to respond to Plaintiffs’

request, see Id., thereby thwarting FOIA’s goals of “efficient, prompt, and full disclosure of

information,” August v. FBI, 328 F.3d 697, 699 (D.C. Cir. 2003). Where, as here, the request is




       2
           See Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973).
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not made for the purpose of “gain[ing] a tactical advantage over the FOIA requester,” it can and

should be granted. See id. at 698.



                                        CONCLUSION

       For the foregoing reasons, the Joint Motion For An Order Preserving Certain Allegations

should be granted.


Respectfully submitted,


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